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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 HOWARD COHAN,

              Plaintiff,                          CASE NO. 2:19-cv-10792
 v.
                                                  HON. SEAN F. COX
 HAGGERTY NOVI OWNER, LLC.[sic];
 and DRIFTWOOD HOSPITALITY                        MAGISTRATE JUDGE
 MANAGEMENT II, LLC. [sic],                       STEPHANIE DAWKINS-
                                                  DAVIS
              Defendants.

 BLACKMORE LAW PLC                          JACKSON LEWIS P.C.
 Angela C. Spears (P82653)                  Tiffany Buckley-Norwood (P69807)
 Attorneys for Plaintiff                    Daniel C. Waslawski (P78037)
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                                            daniel.waslawski@jacksonlewis.com

      STIPULATION TO DISMISS PLAINTIFF’S COMPLAINT WITH
       PREJUDICE AND WITHOUT ATTORNEYS’ FEES OR COSTS

      The parties, through their respective attorneys, stipulate and agree to a

dismissal of Plaintiff’s Complaint in its entirety with prejudice as to all parties and

with each party to bear his or its own attorneys’ fees and costs. The parties further

stipulate and agree that entry of this Order will resolve all pending claims and close

the case.
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STIPULATED AND AGREED TO BY:

By: /s/ George T. Blackmore               By: /s/ Daniel C. Waslawski
(w/consent)                               JACKSON LEWIS P.C.
BLACKMORE LAW PLC                         Tiffany Buckley-Norwood (P69807)
George T. Blackmore (P76942)              Daniel C. Waslawski (P78037)
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

HOWARD COHAN,

              Plaintiff,                         CASE NO. 2:19-cv-10792
v.
                                                 HON. SEAN F. COX
HAGGERTY NOVI OWNER, LLC.[sic];
and DRIFTWOOD HOSPITALITY                        MAGISTRATE JUDGE
MANAGEMENT II, LLC. [sic],                       STEPHANIE DAWKINS-
                                                 DAVIS
              Defendants.

 ORDER DISMISSING PLAINTIFF’S COMPLAINT WITH PREJUDICE
         AND WITHOUT ATTORNEYS’ FEES OR COSTS

      IT IS HEREBY ORDERED that Plaintiff’s Complaint is dismissed with

prejudice as to all parties and with each party to bear his or its own attorneys’ fees

and costs. Entry of this order resolves all pending claims and closes the case.

       IT IS SO ORDERED.


Dated: July 8, 2020                           s/Sean F. Cox
                                              Sean F. Cox
                                              U. S. District Judge
             s/Sean F. Cox



                                                                         Sean F. Cox



                                                                 U. S. District Judge
